Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 1 of 29

 

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COUNSEL/PARTIES OFIRECORD

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Chief, Organized Crime and Gang Section JUL 31 2020
United States Department of Justice
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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
United States of America,
Case No. 2:17-cr-306-JCM-PAL
Plaintiff,
Plea Agreement Under Fed. R.
Vv. Crim. P. 11(c)(1)(C)

Valerian Chiochiu,

Defendant.

 

 

 

 

Plaintiff United States of America, by and through DAVID L. JAFFE, Chief

for the United States Department of Justice, Organized Crime and Gang Section,

KELLY PEARSON, Deputy Chief, Organized Crime and Gang Section, and CHAD

W. MCHENRY and ALEXANDER GOTTFRIED, Trial Attorneys, Organized Crime

and Gang Section, and the defendant, VALERIAN CHIOCHIU, and the defendant’s

 

 

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‘Indictment returned by the grand jury on January 30, 2018, ECF No. 303:

 

 

Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 2 of 29

attorney, ALAN EISNER, ESQ,, respectfully submit this Plea Agreement under Fed.
R. Crim. P. 11(c¢)(1)(C):
I, SCOPE OF AGREEMENT

The parties to this Plea Agreement are the United States of America and
VALERIAN CHIOCHIU (the defendant). This Plea Agreement binds the defendant
and the United States Department of Justice’s Organized Crime and Gang Section.

If the Court accepts this Plea Agreement, it will also bind the Court under
Fed. R. Crim. P.11(c)(1)(C). It does not bind any other prosecuting, administrative,
or regulatory authority.

The Plea Agreement sets forth the parties’ agreement regarding criminal
charges referenced in the Plea Agreement and applicable sentences, fines,
restitution, and forfeiture.

II, DISPOSITION OF CHARGES AND WAIVER OF TRIAL RIGHTS
A. Guilty Plea. The defendant knowingly and voluntarily agrees to plead

guilty to the following charge as set forth in the Second Superseding Criminal

COUNT ONE: Conspiracy to Engage in a Racketeer Influenced

Corrupt Organization, in violation of 18 U.S.C. §§ 1962(d) and 1963.
The defendant also agrees to the imposition of the in personam criminal
forfeiture money judgment as set forth in the Plea Agreement, the Bill of Particulars,

and the Forfeiture Allegation of the Second Superseding Criminal Indictment.

 

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 3 of 29

B. Waiver of Trial Rights. The defendant acknowledges that he has been
advised and understands that by entering a plea of guilty he is waiving — that is,
giving up — certain rights guaranteed to all defendants by the laws and the
Constitution of the United States. Specifically, the defendant is giving up:

1, The right to proceed to trial by jury on all charges, or to a trial
by a judge if the defendant and the United States both agree;

2. The right to confront the witnesses against the defendant at such
a trial, and to cross-examine them;

3. The right to remain silent at such a trial, with assurance that his
silence could not be used against him in any way;

4, The right to testify in his own defense at such a trial if he so
chooses;

5. The right to compel witnesses to appear at such a trial and testify
on the defendant’s behalf: and

6. The right to have the assistance of an attorney at all stages of
such proceedings,

C. Withdrawal of Guilty Plea. The defendant will not seek to withdraw his
guilty plea after he has entered it in court unless the Court declines to accept the
parties’ binding agreement. See Fed. R. Crim. P. 16(c)(5)(B).

D. Additional Charges. The United States agrees not to bring any
additional charges against the defendant arising out of the defendant's participation

in conduct described in the agreed-upon factual basis for this Plea Agreement, to the

 

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 4 of 29

extent that the defendant has disclosed such participation to the Organized Crime
and Gang Section of the United States Department of Justice (hereinafter
collectively referred to as “this Office”) as of the date of this Agreement, except that
the United States reserves the right to prosecute the defendant for any criminal tax
violations, including conspiracy to commit such violations, chargeable under 18
U.S.C. § 371.

Tl. ELEMENTS OF THE OFFENSE

COUNT ONE: The elements of Conspiracy to Engage in a Racketeer
Influenced Corrupt Organization, in violation of 18 U.S.C. § 1962(d) are:

1. First, that there was an agreement among two or more persons to
participate in an enterprise that would affect interstate commerce through a pattern
of racketeering activity;

2. Second, that defendant knowingly and willfully became a member of
that agreement; and

3. Third, that the defendant or another member of the conspiracy agreed
to commit two racketeering acts.

Iv. FACTS SUPPORTING GUILTY PLEA

A. The defendant will plead guilty because he is, in fact and under the law,
guilty of the crimes charged.

B, The defendant acknowledges that if he elected to go to trial instead of
pleading guilty, the United States could prove his guilt beyond a reasonable doubt

and by preponderance of the evidence establish its right to forfeit the specified

 

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 5 of 29

property. The defendant further acknowledges that his admissions and declarations
of fact set forth below satisfy every element of the charged offenses.

C. The defendant waives any potential future claim that the facts he
admitted in this Plea Agreement were insufficient to satisfy the elements of the
charged offense.

D. The defendant understands, acknowledges, and agrees that the facts
set forth below are only those necessary to support a plea of guilty to the charge
described in this agreement and to establish the Sentencing Guidelines factors set
forth in Section VI below, and that they do not capture the entirety of his conduct,
criminal or otherwise, in this case. The defendant admits and declares under penalty
of perjury that the facts set forth below are true and correct:

1. From on or about October 1, 2010, through on or about February

1, 2018, in the District of Nevada and elsewhere, defendant CHIOCHIU and his

codefendants, including others known and unknown, were members of, employed by,

and associated with the Infraud Organization described below, an enterprise

engaging in, and the activities of which affected interstate and foreign commerce,

and unlawfully and knowingly conducted and participated, directly and. indirectly,

in the conduct of the affairs of the Infraud Organization through a pattern of
racketeering activity described below:

a. The Infraud Organization was a criminal enterprise that

existed to enrich its members and associates through acts of identity theft and

financial fraud, including, but not limited to: acts involving trafficking in stolen

 

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| with interstate and foreign commerce. The Infraud Organization facilitated the sale

 

 

Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 6 of 29

means of identification; trafficking in, producing, and using counterfeit identification
documents; identity theft; trafficking in, producing, and using unauthorized and
counterfeit access devices; bank fraud; and trafficking in the services associated with

the use of unauthorized counterfeit access devices; and which activities interfered

of contraband by its members, including counterfeit documents, stolen bank account
and credit account information, and stolen personal identifying information.
Members and associates of the Infraud Organization operated throughout the world
and the United States, to include Las Vegas, Nevada.

b. From on or about October 1, 2010 to on or about February
6, 2018, the Infraud Organization was responsible for the sale and/or purchase of
over 4 million compromised credit and debit card numbers. The actual financial loss
associated with the Infraud Organization was in excess of $568 million USD. The
victims of the Infraud Organization include MasterCard, Visa, American Express,
and Discover Card corporations, in addition to countless financial institutions
located in the United States. |

c. The purposes of the Infraud Organization included: to
enrich its members and associates through the unlawful trafficking in means of
identification, document-making implements, counterfeit identification documents,
device-making equipment, and unauthorized and counterfeit access devices; to
establish the Infraud Organization as the premier online destination for the

purchase and sale of stolen property and other contraband, such as victims’ personal

 

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 7 of 29

and financial means of identification; to educate members in obtaining and using
such property and contraband; to direct traffic, primarily through advertising and
member feedback, to member owned and/or operated automated vending sites
(‘AVSes”) and other websites to generate illicit proceeds, thereby promoting the
Infraud Organization as the premier online source of reputable contraband vendors;

to protect the Infraud Organization and its members from detection, apprehension,

‘and prosecution by law enforcement; to preserve and protect Infraud operations and

profits through the use of discipline, expulsion, and other acts of retribution; and to
preserve and protect the reputation, operations, and profits of the enterprise through
discipline, expulsion, and other acts of retribution against non-conforming members.

d. Members of the Infraud Organization trafficked in,
produced, and transferred counterfeit identification documents; possessed.

document-making implements; transferred, possessed, and used means of

} identification of another person in the commission of and in connection with bank

fraud affecting interstate and foreign commerce; possessed fifteen (15) or more

counterfeit and unauthorized access devices affecting interstate and foreign

| commerce; trafficked in and possessed device-making equipment affecting interstate

and foreign commerce; planned schemes to unlawfully obtain money and property
from banks and other financial institutions by way of fraud and material
misrepresentations and promises; and utilized the personal identifying information
of victims in the forgery and false use of passports and other identification

documents and authentication features.

 

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 8 of 29

e. Members of the Infraud Organization used various means
to communsticate, complete transactions, and establish connections, all of which were
designed to protect the membership’s anonymity, evade detection and prosecution
by law enforcement, and provide security for the criminal organization against

attacks by other rival criminal organizations, including the use of: various website

forums controlled by the Infraud Organization, as online gathering places which

provided secure meeting locations for the members of the criminal enterprise;
private messaging, which is a non-forum wide message sent between individual
members on the criminal organization’s website forums; e-mail, some of which are
encrypted and password protected, or use service providers located outside of the
United States; ICQ chat, which is a free instant messaging electronic communication
service; proxies, which are achieved by bouncing from one computer to another to
hide a member’s true originating IP address; Virtual Private Networks, which are
similar to proxies, but with the addition of creating an encrypted to prevent the
communications within that tunnel from being intercepted and monitored; and
protected drop sites in the United States and elsewhere, in the event that there was
a need to transport, transfer, and receive physical contraband.

f. Members of the Infraud Organization have defined roles
in the enterprise, including Administrator, Moderator, Reviewers, Vendors, and
Members.

i. The Administrators of the Infraud Organization.

were individuals that served as a governing council for the Infraud Organization

 

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 9 of 29

who, collectively, controlled the destiny of the organization. The Administrator(s)
initially seeded the Infraud Organization forum with “reputable” vendors of
contraband in order to attract traffic and membership and grow the organization.
They handled the day-to-day management decisions of the Infraud Organization, as
well as long term strategic planning for its continued viability. They determined
which individuals were permitted to become and remain members of the Infraud
Organization; the functions, responsibilities and levels of access to information for
all members of the organization; and the rewards accorded to members for their
loyalty to the organization as well as the punishments meted out to members
evidencing disloyalty to the organization. Furthermore, they decided when, how and
under what circumstances to attack and retaliate against members of rival criminal
organizations and their associated internet websites. The Administrator(s) were
accorded full access to, and privileges on, the computer servers that hosted the
Infraud Organization’s websites, and, thus, had the ultimate responsibility for the
physical administration, maintenance, and security of those servers and websites.
ii. Super Moderators oversaw and administered one
or-more subject-matter specific areas on the Infraud Organization’s forum that
either fell within an area of their expertise or covered their geographic location,
limiting their activities to editing and deleting posts by members on these forums
and mediating disputes. Super Moderators frequently served as reviewers for

particular products or services with which they had an expertise.

 

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 10 of 29

iii, Moderators, like Super Moderators, oversaw and
administered one or more subject-matter specific areas on the Infraud
Organization’s forum that either fell within an area of their expertise or covered
their geographic location, However, Moderators tended to be more limited in the
authority they were granted, and were generally limited to moderating one or two
specific sub-forums.

iv. Vendors sold illicit products and services to |
members of the Infraud Organization. These sales could occur through the vendor's
own website to which would-be purchasers were directed by the advertisements they
paid for and placed on the Infraud Organization’s web forum. Such sales could also
occur directly between the vendor and customer, i.e. via email, private message, or
ICQ chat. Products sold by vendors were reviewed on the forum by Infraud members
to ensure that vendors of low-quality goods did not remain in business with the
Infraud Organization. This helped cement the organization’s reputation as a
premiere online destination for safe, high-quality, and readily available fraud-
related contraband.

Vs VIP Members were some of the premiere members
of the Infraud Organization. The leaders of the organization bestowed this title upon
longstanding or otherwise notable members in order to distinguish them from the
general membership and from vendors.

vi. Members of the Infraud Organization typically

used the organization’s websites to gather and provide information about

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 11 of 29

perpetuating criminal activity; to share information with and solicit other members
to engage in their criminal schemes; to use the website’s vendor to facilitate their
unlawful purchases of credit card dumps, false identification documents, and other
contraband; and to have their individual disputes with other organization members
settled by the Administrators or Moderators.

g. On or about December 19, 2012, defendant CHIOCHIU
joined the Infraud Organization using the nic “Onassis.” CHIOCHIU advised other
members of the Infraud Organization on the creation and use of malicious computer
software, commonly referred to as “malware,” that may be used to surreptitiously
exfiltrate sensitive data from infected computers. In addition to these discussions,
CHIOCHIU authored a strain of malware dubbed “FastPOS” by the computer
security community. CHIOCHIU facilitated the use by Infraud Organization
members, and others, of that malware, and of other unlawful means, to harvest and
take without the true owners’ permission credit card account numbers and other
access device data. CHIOCHIU knew that said unlawfully obtained data would then
be sold to Infraud Organization members, and others, through the use of automated
vending sites and direct correspondence with individual customers. Using the
proceeds of this facilitation, CHIOCHIU also fraudulently purchased gift cards,
which he was then able to convert to monetary proceeds through the use of an online
gift card selling platform, obtaining in excess of $1 million USD in this fashion.

i. During the course of this activity, in the Federal

District of Nevada and elsewhere, and in furtherance of the Infraud Organization’s

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 12 of 29

criminal enterprise, defendant CHIOCHIJU, on multiple occasions: a) knowingly and
with the intent to defraud, produced, used, or trafficked in one or more counterfeit
access. devices; b) knowingly and with the intent to defraud, trafficked in or used one.
or more unauthorized access devices during any one-year period and by such conduct
obtained anything of value aggregating $1,000 or more during that period; c)
knowingly and with intent to defraud, possessed fifteen (15) or more counterfeit or
unauthorized access devices; and d) without the authorization of the issuer of the
access device, knowingly and with the intent to defraud, solicited persons for the
purposes of offering an access device or selling information regarding or an
application to obtain an access device.

h. On March 28, 2017, CHIOCHIU surrendered himself to
the government, by earlier agreement, on the arrest warrant that was issued
pursuant to the Indictment in the above-captioned case. As a part of that agreement,
he brought with him and provided the government two computer hard drives and
one iPhone that had been used. to commit the crimes with which he was charged.
However, the night before he turned himself in, he factory reset the iPhone and used
counter-forensic software called “CCleaner” to surgically wipe the hard drives,
destroying substantial amounts of digital evidence pertaining to his criminal
conduct, and rendering any such deleted data incapable of forensic recovery.
CHIOCHIU left intact a large amount of innocuous data on both drives, such as
family photographs, various software applications and operating system data, and

personal documents, in an attempt to mask his targeted destruction of evidence.

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part of the offense of Conspiracy to Engage in a Racketeer Influenced Corrupt

 

 

Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 13 of 29

i. As part of the conspiracy, defendant CHIOCHIU agreed
that he or a co-conspirator would engage in two or more racketeering acts, including
violations of 18 U.S.C. § 1028(a)(1) (Trafficking in and Production of False
Identification Documents); 18 U.S.C. § 1028(a)(5) (Unlawful Possession of an
Authentication Feature); 18 U.S.C. § 1028(a)(7) (Unlawful Transfer, Possession or
Use of a Means of Identification for an Unlawful Activity); 18 U.S.C. § 1029(a)(8)
(Possession of 15.or More Unauthorized Access Devices); 18 U.S.C. § 1029(a)(4)
(Trafficking in and Possession of Access Device-Making Equipment); 18 U.S.C. §
1343 (Wire Fraud); 18 U.S.C. § 1344 (Bank Fraud); and 18 U.S.C. § 15438 (Forgery
and False Use of a Passport).

2. Defendant CHIOCHIU expressly admits that: 1) a loss amount
of $568,000,000.00 USD is attributable to the defendant for conspiring with
members of the enterprise; 2) the offense, Conspiracy to Engage in a Racketeer

Influenced Corrupt Organization, involved more than 10 victims; 3) a substantial

Organization was conducted overseas and otherwise used sophisticated means; and
4) the offense, Conspiracy to Engage in a Racketeer Influenced Corrupt
Organization, involved possession and use of device-making equipment, and the
production of and trafficking in unauthorized and counterfeit access devices.

3. The defendant admits the in personam criminal forfeiture money
Judgment amount listed in Section X is (1) any interest acquired or maintained in

violation of Title 18, United States Code, Section 1962; (2) any interest in; security

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 14 of 29

of; claim against; or property or contractual right of any kind affording a source of
influence over; any enterprise established, operated, controlled, conducted, or
participated in the conduct of, in violation of Title 18, United States Code, Section
1962; (3) any property constituting, or derived from, any proceeds obtained, directly
or indirectly, from racketeering activity in violation of Title 18, United States Code,
Section 1962; (4) any personal property used or intended to be used to commit the
violations of Title 18, United States Code, Section 1028; (5) any personal property
used or intended to be used to commit the violations of Title 18, United States Code,
Section 1029; (6) any property, real or personal, which constitutes or is derived from
proceeds traceable to violations of Title 18, United States Code, Sections 1028, 1029,
1348, 1844, and 1548, specified unlawful activities as defined in Title 18, United
States Code, Sections 1956(c)(7)(A) and 1961(1)(B), or Title 18, United States Code,
Section 1962(c) and (d), conspiracy to commit such offenses; (7) any property
constituting, or derived from, proceeds obtained directly or indirectly, as the result
of violations of Title 18, United States Code, Sections 1343 and 1344, affecting a
financial institution, or Title 18, United States Code, Section 1962(c) and (d),
conspiracy to violate such offenses; (8) any property constituting, or derived from,
proceeds obtained directly or indirectly, as the result of violations of Title 18, United
States Code, Sections 1028 and 1029, or Title 18, United States Code, Section 1962(c)
and (d), conspiracy to violate such offenses; (9) any property real or personal that
constitutes, or is derived from or is traceable to the proceeds obtained directly or

indirectly from the commission of Title 18, United States Code, Sections 1028 and

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Case 2:17-cr-00306-JCM-VCF Document 737_ Filed 07/31/20 Page 15 of 29 oo

1543, or Title 18, United States Code, Section 1962(c) and (d), conspiracy to violate
such offenses; and (10) any property real or personal that is used to facilitate, or is
intended to be used to facilitate, the commission of Title 18, United States Code,
Sections 1028 and 1543, or Title 18, United States Code, Section 1962(e) and (d),
conspiracy to violate such offenses, and is subject to forfeiture pursuant to Title 18,
United States Code, Section 1963(a)(1), (a)(2), and (a)(8); Title 18, United States
Code, Section 1028(b)(5), (g), and (h); Title 18, United States Code, Section
1029(c)(1)(C) and 1029(c)(2); Title 18, United States Code, Section 981(a)(1)(C) with
Title 28, United States Code, Section 2461(c); Title 18, United States Cade, Section
982(a)(2)(A); Title 18, United States Code, Section 982(a)(2)(B); Title 18, United
States Code, Section 982(a)(6)(A)(ii)() with 982(a)(6)(B); Title 18, United States
Code, Section 982(a)(6)(A)Gi)(Q) with 982(a)(6)(B); and Title 18, United States Code,
Section 1963(m).

4, Defendant CHIOCHIU further expressly admits that the acts

|set forth above, among others: were knowingly and voluntarily committed in

furtherance of the Infraud Organization's criminal enterprise; constitute a pattern
of racketeering activity; were committed in and affecting interstate and foreign
commerce; and were done for the gain of the Infraud members, the benefit of others,
and in furtherance of the Infraud criminal enterprise.
Vv. COLLATERAL USE OF FACTUAL ADMISSIONS

The facts set forth in Section IV of this Plea Agreement shall be admissible

against the defendant under Fed. R. Evid. 801(d)(2)(A) at sentencing for any

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facts set forth in Section IV of this Plea Agreement shall be admissible at any

 

 

Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 16 of 29

purpose. If the defendant does not plead guilty or withdraws his guilty plea, the

proceeding, including a trial, for impeaching or for rebutting any evidence,
argument, or representation offered by or on the defendant's behalf. The defendant
expressly waives all rights under Fed. R. Crim. P. 11( and Fed. R. Evid. 410
regarding the use of the facts set forth in Section IV of this Plea Agreement.

VI. APPLICATION OF SENTENCING GUIDELINES  (U.S.S.G.)

PROVISIONS

A. Count One: Conspiracy to Engage in a Rack Influenced Corru
Organization
1. Base Offense Level [U.S.8.G. § 2B1.1(a)(1)]: 7

2. Specific Offense Characteristics:

More than $550,000,000
in loss [U.S.S.G § 2B1.16)(D(P)}: +30

Offense involves more than 10 victims
[U.S.S.G. § 2B1.1(b)(2)(A)]: +2

Substantial part of offense conducted
overseas and otherwise used sophisticated
means [U.S.S.G. § 2B1.1(b)(10)]: +2
Offense involved possession and use of
device-making equipment, and production
and trafficking of unauthorized and counterfeit
access devices [U.S.S.G. §§ 2B1.1(b)(11)(A), (B)]: +2
3. Adjusted Offense Level: 43
The defendant acknowledges that the statutory maximum sentence

and any statutory minimum sentence limit the Court's discretion in determining the

defendant’s sentence notwithstanding any applicable Sentencing Guidelines

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 17 of 29

provisions. The defendant understands that although the United States agrees
recommend a prison sentence of no greater than eleven (11) years, the Court may
defer a decision whether to accept or reject the Plea Agreement until the Court has
reviewed the presentence report, in which the United States Probation Office will
independently calculate the defendant’s offense level under the Sentencing
Guidelines.

B. Reduction of Offense Level for Acceptance of Responsibility. Under
U.S.S.G. § 3E1.1(a), the United States will recommend that the defendant receive a
two-level downward adjustment for acceptance of responsibility unless he: (a) fails
to truthfully admit facts establishing a factual basis for the guilty plea when he
enters the plea; (b) fails to truthfully admit facts establishing the amount of
restitution owed when he enters his guilty plea; (c) fails to truthfully admit facts
establishing the forfeiture allegations when he enters his guilty plea; (d) provides
false or misleading information to the United States, the Court, Pretrial Services, or
the Probation Office; (e) denies involvement in the offense or provides conflicting
statements regarding his involvement or falsely denies or frivolously contests
conduct relevant to the offense; (f) attempts to withdraw his guilty plea; (g) commits
or attempts to commit any crime; (h) fails to appear in court; (i) violates his |
conditions of pretrial release; or (j) commits any act which could result in the United
States seeking an obstruction of justice enhancement within the meaning of U.S.S.G.

§ 8C1.1.

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 18 of 29

Under U.S.S.G. § 3E1.1(b), if the Court determines that the Defendant’s total
offense level, before operation of § 3E1.1(a), is 16 or higher, and if the United States
recommends a two-level downward adjustment pursuant to the preceding
paragraph, the United States will move for an additional one-level downward
adjustment for acceptance of responsibility before sentencing because the
defendant communicated his decision to plead guilty in a timely manner that
enabled the United States to avoid preparing for trial and to efficiently allocate its
resources,

Cc. Criminal History Category. The defendant acknowledges that the
Court may base his sentence in part on the defendant's criminal record or criminal
history. The Court will determine the defendant’s Criminal History Category under
the Sentencing Guidelines, and the Criminal History Category could result in an
increase in the advisory guideline range.

D. Relevant Conduct. The Court may consider any counts dismissed
under this Plea Agreement and all other relevant conduct, whether charged or
uncharged, in determining the applicable Sentencing Guidelines range and whether
to depart from that range.

E. Additional Sentencing Information. The stipulated Sentencing
Guidelines calculations are based on information now known to the parties. The
parties may provide additional information to the United States Probation Office
and the Court regarding the nature, scope, and extent of the defendant’s criminal

conduct and any aggravating or mitigating facts or circumstances. Good faith efforts

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 19 of 29

to provide truthful information or to correct factual misstatements shall not be

| grounds for the defendant to withdraw his guilty plea.

The defendant acknowledges that the United States Probation Office may
calculate the Sentencing Guidelines differently and may rely on additional
information it obtains through its investigation. The defendant also acknowledges
that the Court may rely on this and other additional information as it calculates the
Sentencing Guidelines range and makes other sentencing determinations, and the
Court's reliance on such information shall not be grounds for the defendant to
withdraw his guilty plea.

Vil. APPLICATION OF SENTENCING STATUTES

A. Maximum Penalty.

Count One. The maximum penalty for Conspiracy to Engage in a
Racketeer Influenced Corrupt Organization, in violation of 18 U.S.C. §§ 1962(d) and
1963, is not more than twenty (20) years in prison, a fine of not more than two
hundred and fifty thousand dollars ($250,000), or both a fine and imprisonment,

B. Factors Under 18 U.S.C. § 3553. The Court must consider the factors
set forth in 18 U.S.C. § 3553(a) in determining the defendant’s sentence. However,
the statutory maximum sentence and any statutory minimum sentence limit the
Court’s discretion in determining the defendant’s sentence.

C. Parole Abolished. The defendant acknowledges that his prison sentence

cannot be shortened by early release on parole because parole has been abolished.

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the defendant’s return to prison for all or part of the term of supervised release,

which could result in the defendant serving a total term of imprisonment greater

 

 

Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 20 of 29

D. Supervised Release. In addition to imprisonment and a fine, the
defendant will be subject to a term of supervised release not to exceed three (3) years
as to Count One. Supervised release is a period of time after release from prison
during which the defendant will be subject to various restrictions and requirements.

If the defendant violates any condition of supervised release, the Court may order

than the statutory maximum prison sentence.

E. Special Assessment. The defendant will pay a one-hundred dollar
($100.00) special assessment per count of conviction at the time of sentencing.

F. Additional Costs. The defendant is required to pay for the costs of
imprisonment, probation, and supervised release, including the costs for electronic
monitoring of home detention, unless the defendant establishes that the defendant.
does not have the ability to pay such costs, in which case the Court may impose an
alternative sanction such as community service.

VIM. POSITIONS REGARDING SENTENCE

This Plea Agreement is governed, in part, by Federal Rule of Criminal
Procedure 11(c)(1)(C). That is, the parties have agreed that the sentence imposed
by the Court shall include a term of imprisonment of not more than 11 years (132
months) in the custody of the Bureau of Prisons. Because this plea is offered pursuant

to Federal Rule of Criminal Procedure 11(c)(1)(C), if the Court accepts the plea

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| impose a sentence of greater than 11 years’ (182 months’) imprisonment, defendant may

‘variance pursuant to 18 U.S.C. § 3553 or U.S.S.G. § 4A1.3(b)(1), and the United

 

 

Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 21 of 29

agreement, the Court may not impose a greater sentence than that agreed by the
parties in this plea agreement.
The Court may accept this agreement, reject it, or defer a decision until the

Court has reviewed the presentence report. If the Court accepts and agrees to not

not withdraw this plea as a matter of right under Federal Rule of Criminal Procedure
11(d). If, however, the Court rejects the Plea Agreement, or otherwise refuses to accept
defendant's plea of guilty, either party shall have the right to withdraw from this Plea
Agreement. The Court will advise the defendant that if the Court rejects the guilty
plea, and his plea of guilty is not withdrawn, the disposition of the case may be less
favorable than that contemplated by this plea agreement.

The defendant is free to seek any downward departure, adjustment, or

States is free to oppose any departures, adjustments, or variances. The defendant
acknowledges that the Court does not have to follow the recommendation of either
party.
IX. RESTITUTION

The defendant and the government agree, and request that the Court find on
the record, that the number of victims in this case is so large as to make restitution
impracticable. See 18 U.S.C. § 3663A(c)(3)(A). Moreover, the defendant and the
government agree, and request that the Court find on the record, that determining

complex issues of fact related to the cause or the amount of those victims’ losses

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 22 of 29

would complicate or prolong the sentencing process to a degree that the need to
provide restitution to any victim is outweighed by the burden of the sentencing
process. See 18 U.S.C. § 86638A(c)(8)(B).

Therefore, the defendant and government agree that the Court should order
in lieu of restitution a fine in the amount of $568,000,000 pursuant to 18 U.S.C,
§ 3571(d). Any payments made by the defendant toward the amount of this fine shall
be deposited into the Crime Victims Fund pursuant to 34 U.S.C. § 20101.

The defendant understands, acknowledges and agrees that he cannot
discharge this fine obligation through bankruptcy proceedings. The defendant
further understands, acknowledges and agrees that fine payments and obligations
cannot offset or reduce the amount of any forfeiture judgment imposed in this case.
X. FORFEITURE

The defendant knowingly and voluntarily:

A. Agrees to the District Court imposing an in personam criminal forfeiture
money judgment of $1,548,568.77;
B. Agrees the in personam criminal forfeiture money judgment amount
complies with Honeycutt v. United States, __U.S.___, 187 8. Ct. 1626 (2017);
C. Waives his right to any abandonment proceedings, any civil
administrative forfeiture proceedings, any civil judicial forfeiture proceedings, or
any criminal forfeiture proceedings of the in personam criminal forfeiture money

judgment (proceedings);

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{or any proceedings concerning the in personam criminal forfeiture money judgment

arising from the facts and circumstances of this case;

 

 

Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 23 of 29

D. Waives service of process of any and all documents filed in this action

E. Agrees not to file any claim, answer, petition, or other documents in
any proceedings concerning the in personam criminal forfeiture money judgment;

F. Waives the statute of limitations, the CAFRA requirements, Fed. R.
Crim. P. 7, 11, and 32.2, all constitutional requirements, including, but not limited
to, the constitutional due process requirements of any proceedings concerning the in
personam criminal forfeiture money judgment;

G. Waives all constitutional, legal, and equitable defenses to the in
personam criminal forfeiture money judgment in any proceedings, including, but not
limited to, (1) constitutional or statutory double jeopardy defenses and (2) defenses
under the Excessive Fines or Cruel and Unusual Punishments Clauses of the Eighth
Amendment to the United States Constitution;

H. Agrees to the entry of an Order of Forfeiture for the in personam.
criminal forfeiture money judgment to the United States;

1. Waives the right to appeal any Order of Forfeiture;

J. Agrees the in personam criminal forfeiture money judgment is
immediately due and payable and is subject to immediate collection by the United
States;

K. Agrees and understands the in personam criminal forfeiture money

judgment shall not be treated as satisfaction of any assessment, fine, restitution,

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 24 of 29

cost of imprisonment, or any other penalty the Court may impose upon the defendant

in addition to the forfeiture;

L. Acknowledges that the amount of the forfeiture may differ from, and |

may be significantly greater than or less than, the amount of restitution; and

M. Agrees to take all steps as requested by the United States to pass clear
title of any forfeitable assets that may be used to satisfy the in personam criminal
forfeiture money judgment to the United States and to testify truthfully in any
judicial forfeiture proceedings. The defendant understands and agrees that the in
personam criminal forfeiture money judgment amount represents proceeds and/or
facilitating property of illegal conduct and is forfeitable. The defendant
acknowledges that failing to cooperate in full in the disclosure of assets constitutes
a breach of this Plea Agreement.
XI. FINANCIAL INFORMATION AND DISPOSITION OF ASSETS

Before or after sentencing, upon request by the Court, the United States, or
the Probation Office, the defendant will provide accurate and complete financial
information, submit sworn statements, and/or give depositions under oath
concerning his assets and his ability to pay. The defendant will surrender assets he

obtained directly or indirectly as a result of his crimes, and will release funds and

property under his control in order to pay any fine, forfeiture, or restitution ordered |

by the Court.

XU. THE DEFENDANT’S ACKNOWLEDGMENTS AND WAIVERS
A. Plea Agreement and Decision to Plead Guilty. The defendant

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 25 of 29

acknowledges that:

1. He has read this Plea Agreement and understands its terms and
conditions;

2. He has had adequate time to discuss this case, the evidence, and

this Plea Agreement with his attorney;

3. He has discussed the terms of this Plea Agreement with his
attorney;

4, The representations contained in this Plea Agreement are true
and correct, including the facts set forth in Section IV; and

5. He was not under the influence of any alcohol, drug, or medicine
that would impair his ability to understand the Agreement when he considered
signing this Plea Agreement and when he signed it.

The defendant understands that he alone decides whether to plead guilty or
go to trial, and acknowledges that he has decided to enter his guilty plea knowing of
the charges brought against him, his possible defenses, and the benefits and possible
detriments of proceeding to trial. The defendant also acknowledges that he decided
to plead guilty voluntarily and that no one coerced or threatened him to enter into
this Plea Agreement.

B. Waiver of Appeal and Post-Conviction Proceedings. The defendant
knowingly and expressly waives: (a) the right to appeal any sentence imposed within
or below the applicable Sentencing Guideline range as determined by the Court;

(b) the right to appeal the manner in which the Court determined that sentence on

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 26 of 29

the grounds set forth in 18 U.S.C. § 3742; and (c) the right to appeal any other aspect
of the conviction or sentence and any order of restitution or forfeiture.
The defendant also knowingly and expressly waives all collateral challenges,

including any claims under 28 U.S.C. § 2255, to his conviction, sentence, and the

procedure by which the Court adjudicated guilt and imposed sentence, except non-

waivable claims of ineffective assistance of counsel.

The defendant reserves only the right to appeal any portion of the sentence
that is an upward departure from the sentencing guideline range determined by the
Court.

The defendant acknowledges that the United States is not obligated or
required to preserve any evidence obtained in the investigation of this case.

C. Removal/Deportation Consequences. The defendant understands and
acknowledges that if he is not a United States citizen, then it is highly probable that
he will be permanently removed (deported) from the United States as a consequence
of pleading guilty under the terms of this Plea Agreement. The defendant has also
been advised if his conviction is for an offense described in 8 U.S.C. § 1101(a)(48), he
will be deported and removed from the United States and will not be allowed to
return to the United States at any time in the future. The defendant desires to plead
guilty regardless of any immigration consequences that may result from his guilty
plea, even if the consequence is automatic removal from the United States with no
possibility of returning. The defendant acknowledges that he has specifically

discussed these removal/deportation consequences with his attorney.

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| parties, No promises, agreements or conditions other than those set forth in this

 

 

Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 27 of 29

XIN. ADDITIONAL ACKNOWLEDGMENTS
This Plea Agreement resulted from an arms-length negotiation in which both
parties bargained for and received valuable benefits in exchange for valuable

concessions. It constitutes the entire agreement negotiated and agreed to by the

agreement have been made or implied by the defendant, the defendant’s attorney,
or the United States, and no additional promises, agreements or conditions shall
have any force or effect unless set forth in writing and signed by all parties or

confirmed on the record before the Court.

DAVID L. JAFFE
Chief, Organized Crime and Gang Section
United States Department of Justice

 

*
DATE: 7/27/2020 isi Chad McHenry
KELLY PEARSON

Deputy Chief, Organized Crime and Gang Section

CHAD W. MCHENRY
ALEXANDER GOTTFRIED
Trial Attorneys

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DATE: 27, Zz

 

Counsel for Defendant CHIOCHIU

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 28 of 29

CERTIFICATION OF INTERPRETER
I, ADRIANA CHIRILOV, a California State Certified Interpreter/translator, am
fluent in the writing and spoken English and Romanian languages. I accurately

translated this entire agreement from English into Romanian to defendant

VALERIAN CHIOCHIU on July 28, 2020.

Dated: July 29, 2020 ANCherslev-
SIGNATURE

 

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Case 2:17-cr-00306-JCM-VCF Document 737 Filed 07/31/20 Page 29 of 29

1 }XIU. ADDITIONAL ACKNOWLEDGMENTS
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concessions. It constitutes the entire agreement negotiated and agreed to by the

5 ||parties. No promises, agreements or conditions other than those set forth in this
6 ||agreement have been made or implied by the defendant, the defendant's attorney,
7 \lor the United States, and no additional promises, agreements or conditions shall

8 Ilhave any force or effect unless set forth in writing and signed by all parties or

9 il confirmed on the record before the Court.

 

 

 

  
 

 

 

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11 DAVID L. JAFFE

Chief, Organized Crime and Gang Section
12 United States Department of Justice
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DATE:

14 KELLY PEARSON .

Deputy Chief, Organized Crime and Gang Section
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CHAD W. MCHENRY
16 ALEXANDER GOTTFRIED

Trial Attorneys
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21 Counsel for Defendant CHIOCHIU
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